              Case 3:19-cv-03674-WHA Document 239 Filed 05/16/22 Page 1 of 3



 1   JOSEPH JARAMILLO (SBN 178566)                           EILEEN M. CONNOR (SBN 248856)
     jjaramillo@heraca.org                                   econnor@law.harvard.edu
 2   HOUSING & ECONOMIC RIGHTS                               MARGARET E. O’GRADY (Pro Hac Vice)
     ADVOCATES                                               mogrady@law.harvard.edu
 3
     3950 Broadway, Suite 200                                REBECCA C. ELLIS (Pro Hac Vice)
 4   Oakland, CA 94611                                       rellis@law.harvard.edu
     Tel.: (510) 271-8443                                    LEGAL SERVICES CENTER OF
 5   Fax: (510) 868-4521                                     HARVARD LAW SCHOOL
                                                             122 Boylston Street
 6                                                           Jamaica Plain, MA 02130
                                                             Tel.: (617) 390-3003
 7
                                                             Fax: (617) 522-0715
 8

 9   Attorneys for Plaintiffs

10                                UNITED STATES DISTRICT COURT
                                NORTHERN DISTRICT OF CALIFORNIA
11
     THERESA SWEET, et al., on behalf of                   Case No. 19-cv-03674-WHA
12
     themselves and all others similarly situated,
13                                                         NOTICE OF CHANGE OF COUNSEL
                     Plaintiffs,
14                                                         Date Filed: May 16, 2022
            v.
15

16   MIGUEL CARDONA, Secretary of
     Education, and THE UNITED STATES
17   DEPARTMENT OF EDUCATION,

18                   Defendants.
19

20
21

22           Pursuant to Local Rule 5-1, attorney Margaret O’Grady hereby notifies the court that she
23   withdraws as counsel for Plaintiffs and the class. Ms. O’Grady is leaving employment with the Legal
24   Services Center of Harvard Law School. Attorneys Joseph Jaramillo of the Housing & Economic

25   Rights Advocates, and Eileen M. Connor and Rebecca Ellis of the Legal Services Center of Harvard

26   Law School, will continue to represent Plaintiffs and the class.

27

28   Dated: May 16, 2022                                 Respectfully submitted,

                                                         /s/ Margaret E. O’Grady
     Case 3:19-cv-03674-WHA Document 239 Filed 05/16/22 Page 2 of 3



 1

 2                                 Joseph Jaramillo (SBN 178566)
                                   HOUSING & ECONOMIC RIGHTS
 3
                                   ADVOCATES
 4                                 3950 Broadway, Suite 200
                                   Oakland, CA 94611
 5                                 Tel: (510) 271-8443
                                   Fax: (510) 280-2448
 6
                                    EILEEN M. CONNOR
 7
                                    Eileen M. Connor (SBN 248856)
 8                                  MARGARET E. O’GRADY (pro hac vice)
                                    mogrady@law.harvard.edu
 9                                  REBECCA C. ELLIS (pro hac vice)
                                    rellis@law.harvard.edu
10                                  LEGAL SERVICES CENTER OF
                                    HARVARD LAW SCHOOL
11
                                    122 Boylston Street
12                                  Jamaica Plain, MA 02130
                                    Tel.: (617) 390-3003
13                                  Fax: (617) 522-0715
14                                  Counsel for Plaintiffs
15

16

17

18

19

20
21

22

23

24

25

26

27

28
                    NOTICE OF CHANGE OF COUNSEL
                       Case No: 19-cv-03674-WHA
                                    1
     Case 3:19-cv-03674-WHA Document 239 Filed 05/16/22 Page 3 of 3



 1

 2

 3

 4

 5

 6

 7

 8

 9

10

11

12

13

14

15

16

17

18

19

20
21

22

23

24

25

26

27

28
